        Case 23-09006       Doc 2     Filed 02/08/23 Entered 02/08/23 11:15:33                Desc Adversary
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                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF IOWA
In Re:
                                                                      Chapter 7
Simply Essentials, LLC
Debtor                                                                Bankruptcy No. 20−00305
______________________________

ARKK Food Company
Plaintiff

vs.                                                                   Adversary No. 23−09006

Pitman Farms
Defendant


                           SUMMONS IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to file a motion or answer to the complaint, which is attached to this
summons, with the Clerk of the Bankruptcy Court and serve a copy upon the plaintiff's attorney within 30 days after
the date of issuance of this summons. The United States or an officer or agency thereof shall file a motion or answer to
the complaint within 35 days.

                  Address of the Clerk:              111 Seventh Avenue SE, Box #15
                                                     Cedar Rapids, IA 52401−2101

                  Attorney for Plaintiff:            Kristina M. Stanger
                                                     Nyemaster Goode
                                                     700 Walnut Street, Suite 1600
                                                     Des Moines, IA 50309


If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

                                                            Sharon K. Mullin
                                                            Clerk, Bankruptcy Court
                                                            by:



                                                            Deputy Clerk



Date of Issuance: February 8, 2023
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23−09006




                                              CERTIFICATION OF SERVICE



I,_________________________________ (name), certify that service of this summons and a copy of the complaint
was made _______________________(date) by:

           Mail service: Regular, first class United States mail, postage fully pre−paid, addressed to:


           Personal Service: By leaving the process with the defendant or with an officer or agent of defendant at:




           Residence Service: By leaving the process with the following adult at:




           Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
           addressed to the following officer of the defendant at:




           Publication: The defendant was served as follows: [Describe briefly]




           State Law: The defendant was served pursuant to the laws of the State of _______________, as follows:
           [Describe briefly]




If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am, and
at all times during the service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.




Date __________________________                 Signature_______________________________________________

                    Print Name:                              ___________________________________

                                                             ___________________________________
                  Business Address:                          ___________________________________
                                                             ___________________________________
